Case 1:16-cv-00233-DIl Document 152-6 Filed 04/12/23 Page 1 of 8
Case 1:16-cv-00233-LY Document129 Filed 05/18/21 Page 1of8

AO 133 (Rev. 12/09) Bill of Casts

UNITED STATES DISTRICT COURT

for the

Western District of Texas

Freedom From Religion Foundation, Inc.

Case No.: 1-16: CV-00233

Vv.
Governor Greg Abbott, et. al.

BILL OF COSTS

Judgment having been entered in the above entitled action on 05/05/2021 against Defendants
Date

the Clerk is requested to tax the following as costs:

Fees of the Clerk 22.2.0 0 ee eee See ee eee ee 5
Fees for service of summons and subpoena ... 6... ee ee ee eee

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case... ...

Fees and disbursements for printing 2.6... ce eee nes

Fees for witnesses fitemize an page v0) oe eect ene

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case... eee

Docket fees under 28 U.S.C. 1923 200 ee ete
Costs as shown on Mandate of Court of Appeals... 2.2 eee
Compensation of court-appointed experts ............ bs Gem e-- + -peeee e  e
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828

Other costs (please itemize) 0 eee eee

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

400.00

3,557.36

0.00

3,957.26

Declaration

I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that tic
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on al! parties

in the following manner:

Electronic service [] First class mail, postage prepaid
(| Other:
s/ Attorney: Richard L. Bolton

Name of Attorney: Richard L. Bolton

For: Freedom From Religion Foundation, Inc., Plaintiff Date: 05/18/2021
Name of Claiming Party
Taxation of Costs
Costs are taxed in the amount of and included in the judgment.

By:

Clerk of Court Deputy Clerk

Sark
Case 1:16-cv-00233-DIl Document 152-6 Filed 04/12/23 Page 2 of 8

Case 1:16-cv-00233-LY Document 129 Filed 05/18/21 Page 2 of 8

AO (33 eev. $209) Bill of Costs

UNITED STATES DISTRICT COURT

Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

ATTERDANCE SUBSISTENCE MILEAGE
Total Cost

NAME . CITY AND STATE OF RESIDENCE Total Total Total Each Witness
Days Cost Days Cast Miles Cost

$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

TOTAL $0.00

NOTICE

Seclion 1924, Litle 28, US. Code {etfective September 1, 1948) provides:
Sec, 1924, Verification of bill of costs.”

“Beloie any bill ol costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
thul the services for which fees have been charged were actually and necessarily performed.”

See alse Section 1920 of Title 28, which reads in part as follows:
“A bili of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

Phe Federal Rales of Civil Procedure contain the following provisions:
RULE S4(d)()
Costs Other than Allarngys” Fees,

Unless a federal statute, these rules, or a court order provides otherwise, costs —— other than attomey's fees —- should be allowed to the
prevailing party. Bul costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
may lax casly on {4 day's nolice. On motion served within the next 7 days, the court may review the clerk's action.

RULE 6
(ul) Additional Vime Afler Certain Kinds of Service
When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C}, (D), ©), or Wh), 3 days are
added afier the period would otherwise expire under Rule 6(a).
RULE S8fe}
Cast av Fee Awards:
Ordinarily, the entry of judgment may not be delayed, nor the lime for appeal extended, in order to tax costs or award fees. But ifa

timely motion for altorney’s fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
effeetive lo order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.

Case 1:16-cv-00233-DIl Document 152-6 Filed 04/12/23 Page 3 of 8
Case 1:16-cv-00233-LY Document129 Filed 05/18/21 Page 3of8

CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing was filed electronically via the
Court’s CM/ECF system on this 18" day of May, 2021, which will send notification to the
following:
Benjamin S. Walton
Office of the Attorney General
P.O. Box 12548, Capitol Station

Austin, TX 78701
Email: Benjamin.walton@texasattorneygeneral.gov

/s/Richard L. Bolton
Richard L. Bolton

Case 1:16-cv-00233-DIl Document 152-6 Filed 04/12/23 Page 4 of 8

Case 1:16-cv-00233-LY Document 129 Filed 05/18/21 Page 4 of 8

ITEMIZATION AND DOCUMENTATION OF THE
REQUESTED COSTS IN ALL CATEGORIES

TOTALS
1, Fees of the Clerk $400
Identified on the Court Docket Report
By Receipt No. 054-8233715
Qe Fees for Printed or Electronically $3,557.36

Recorded Deposition Transcripts
(Invoices for Deposition Transcripts
allached tu (his Tlemuization)

TOTAL $3,957.36
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Case 1:16-cv-00233-DIl

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Richard 1. Bolton

Boardman and Clark, LLP

1 South Pinckney St, Ste. 410
Madison, WI 53701

INVOICE

Document 152-6 Filed 04/12/23 Page 5 of 8
Case 1:16-cv-00233-LY Document129 Filed 05/18/21 Page 5 of 8

ORIGINAL AND 1 COPY OF TRANSCRIPT OF:
Rotert Davis
(TAXABLE $938.30}

DEEMED ACCEPTED AS PRESENTED AND PAID IN FULL.

WE APPRECIATE YOUR BUSINESS,

Invoice No. Involca Date Job No.
|
445191 5/5/2017 323289
Job Date Case No.
4/24/2017 1-15:CV-00233
Case Name
Freedom From Religion Foundation vs, Governor Greg
Abbott and John Sneed
Payment Terms
Due upon receipt
938.30
TOTAL DUE >>> 9938.30
AFTER 6/4/2017 PAY $952.37
INVOJCE(S) DUE UPON RECEIPT AND IS NOT CONTINGENT UPON YOUR CLIENT'S PAYMENT.
ANY QUESTIONS ABOUT BILLING SHOULD BE RAISED WITHIN 15 DAYS OF RECEIPT OF INVOICE OTHERWISE THE BILLING WILL BE
(-) Payments / Credits: 0.90
(+) Finance Charges /Debits: 0.00
{=) New Balance: $938.30

Tax 1D; XX-XXXXXXX

Rernit To:

Richard L. Bolton

Boardman and Clark, LLP

1 South Pinckney St., Ste. 410
Madison, WI 53701

P.G. Box 4227
Houston, TX 77210-4227

Lexitas (formerly DapoTexas, Inc.)

Please detach bottom portion and return with payment.

Invoice No.
Invoice Date
Tota! Due t

Job No.

BU ID
Case No,
Case Name

445191
5/5/2017
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1-16:CV-06233

Freedom From Religion Foundation vs,
Govemor Greg Abbott and John 5need

Case 1:16-cv-00233-DIl Document 152-6 Filed 04/12/23 Page 6 of 8

Case 1:16-cv-00233-LY Document 129 Filed 05/18/21 Page 6 of 8

INTEGRITY INVOICE

( jegal supporl salutians
mu P.O. Box 245 | Manchaca, Texas 18652

Boardman & Clark, LLP

Richard L. Bolton

1 S. Pickney St., Ste 410
Madison, Wisconsin 53701-09279

6/12/2017 13670.1

1;16-CV-00233-SS

Freedom from Religion Foundation, Inc. .
vs.
Governor Greg Abbott, et al.

All invoices are due and payable in Travis County, Texas.
Checks can be made payable to Integrity Legal Support Salutions, sent to the address listed above.
Tax ID No. XX-XXXXXXX HUB No. 1201005853006

§/26/2017 Copy of Transcript - Samuel Grover, Annie Laurie Gaylor
Exhibits and Tabs

Scanned Exhibits - No Charge

Condensed Transcript with Index

Binding

Electronic Copy of Transerip/ASCII

Shipping/Handling - Prepayment

Subtotal - 840.50

Video Duplication

DVD Media and Archiving

Subtotal - 355.00

Sales Tax - Non-Taxable Legal Services

Use Tax
207 1-0-00-000 (W515)

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TOTAL $1,195.50

512-320-8692

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Case 1:16-cv-00233-DIl

Document 152-6 Filed 04/12/23 Page 7 of 8

Case 1:16-cv-00233-LY Document 129 Filed 05/18/21 Page 7 of 8

Alderson.

COURT REPORTING

ROS Se Dade | VP ALLIES OWREPON TIME CO

Richard L Bolton
Boardman Clark

1S. Pinckney Street
Suite 410

P.O, Bax $27
Madison, WL 53704

INVOICE

Involce No. Kavolce Data Job No.
7 95870 6/30/2017 71493
Job Date Case No.
6/22/2017 1-16: CV-00233 =!

Casa Name

Freedom From Religion Foundation, Inc. ¥, Govemor Greg
Abbott and Rod Welsh

Payment Terms

Due upon receipt (1.5%/mo & collection)

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| i CERTIFIED COPY OF TRANSCRIPT OF:
John Sneed

| Weekend/Evening Surcharge

Processing Fee

We appreciate your business.

Tax ID: $3-4257996

Richard | Baltan
Boardman Clark
LS, Plricknay Street
Suke 419

P.O, Box $2?
Madison, WI 53704

98.00 Pages @ 3,55 387,10
18.00 Pages @ 0.99 17,82
1.00 @ 55.00 55.00
TOTAL BUE >>> $453.92
(-) Payments / Credits: 0,00
(+) Finance Charges/Debits: 0.00
(=) New Balance: 459,92
Use Tax
2074-0-00-000 (2/29)
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Job Na. : 71493 BU ID : DC-Local
Case Na. 1-16; CV-00233
Case Name : Freedom From Religion Foundation, Inc. v.
Governor Greg Abbott and Red Welsh
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Tatal Due : $459.92
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PAYMENT WITH CREDIT CARD esas Mee |

Remit To: Alderson Reporting Company, Inc.
Aiderson Court Reporting
Dept. CH 14409
Paiatine, IL 60055

Cardholder's Name:

Card Number:

Exp. Date: Phaone#:
Billing Address:
Zip: Card Securlty Code:

Amount to Charge:

Cardholder's Signature:

Email:

Case 1:16-cv-00233-DIl Document 152-6 Filed 04/12/23 Page 8 of 8

Case 1:16-cv-00233-LY Document 129 Filed 05/18/21 Page 8 of 8

Richard L. Bolton

Boardman and Clark, LLP

1 South Pinckney St., Ste. 410
Madison, W1 53701

INVOICE

Freedom From Religion Foundation vs, Governor Greg
Abbott and John Sneed

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ORIGINAL AND 1 COPY OF TRANSCRIPT OF:
John Reed Clay, Jr., 30(b}(6)

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Job Date | Case No.
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Due upon receipt
B76 60
TOTAL DUE >>> $876.60 |
AFTER 8/24/2017 PAY $889.75

| **"*"WE, AT DEPOTEXAS, HAVE CHANGED OUR NAME TO LEXITAS...THE SAME AMAZING PROFESSIONAL STAFF WITH THE SAME

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Richard L. Balton

Boardman and Clark, LLP

4 South Pinckney St., Ste. 410
Madison, WI 53701

4

Remit To: Lexitas (formerly DepoTexas, Inc.)
P.O. Box 4227
Houston, TX 77210-4227

Job No. : 331852 BU ID :AUS-DT-R
Case No. : 1-16:CV-00233

Case Name ~< Freedom From Religion Foundation vs.
Gaverner Greg Abbott and John Sneed

Invoice No. : 454026 Invoice Date :7/25/2017
Total Due : $ 876.60
AFTER 8/24/2017 PAY $889.75

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Cardholder's Name:
Card Number:

Exp. Date: Phone#;

Billing Address: ~
Zip: Card Securlty Code: ~
Amount to Charge:

Cardholder's Signature:

Email:

PAYMENT WITH CREDIT CARD coy, fe) TAT

